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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF IOWA
CENTRAL DIVISION

JESSE J. MOLYNEUX (IA) and JOHN
STELLMACH (WD), Individually, and CIVIL NO. 4:10-CV-00588-JAJ-TJS
on Behalf of All Others Similarly
Situated,
Plaintiffs,
v. ORDER

SECURITAS SECURITY SERVICES
USA, INC.,

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Defendant. *

Plaintiffs Jesse Molyneux and John Stellmach brought this action on December 9,

2010, against their employer, Securitas Security Services USA, Inc. (“Securitas”)

individually and on behalf of other similarly situated employees, as a collective action

pursuant to the Fair Labor Standards Act and as a class action pursuant to Federal Rule of

Civil Procedure 23 under Iowa and Wisconsin state wage laws. (Plaintiffs’ Collective and

Class Action Complaint (Clerk’s No. 1).) Plaintiffs work as hourly paid security officers for
Securitas and seek to recover unpaid wages and unpaid overtime compensation. (/d.)

Plaintiffs filed a Motion to Conditionally Certify a Collective Action and Facilitate

Notice Pursuant to 29 U.S.C. § 216(b) (Clerk’s No. 37) on May 26, 2011. The motion,

which will be addressed by United States District Judge John A. Jarvey, has been opposed

by Securitas (Clerk’s No. 50) but not fully briefed or argued before the court.
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On June 29, 2011, plaintiffs filed an Emergency Motion for a Protective Order and
Additional Relief (Document No. 53) with a supporting Memorandum (Clerk’s No. 53-1).
Plaintiffs filed their motion in response to Securitas sending a document entitled “Dispute
Resolution Agreement” (Ex. A) to its currently employed security officers. As asserted by
plaintiffs, Securitas without any notice to plaintiffs’ counsel or the court sent purported
arbitration agreements to represented opt-in plaintiffs and putative class members seeking
to release their right to pursue claims as a class in this and other lawsuits. (/d. § 1.) Plaintiffs
characterize Securitas’ actions as an attempt to make an end-run around this court’s authority
and as a surreptitious attempt to evade its liability for class-wide wage and hour violations.
(Id. J 1, 2.)

Plaintiffs request that the court enter an order invalidating the arbitration clause and
release, prohibiting Securitas from communicating with represented opt-in plaintiffs about
the subject matter of this litigation, directing Securitas to provide names, addresses and
telephone numbers of all putative class members who were sent the purported arbitration
agreements, authorizing plaintiffs to issue a corrective notice at Securitas’ expense, directing
Securitas to provide plaintiffs with all materials sent to or received from opt-in plaintiffs and
putative class members, and directing Securitas to identify whether any in-house or litigation
counsel were involved in seeking class releases. (/d.) As for the later request, plaintiffs
suggest there may have been a breach of professional ethics. (/d. ¥ 3.)

Securitas filed an Opposition (Clerk’s No. 62) to the motion on July 6, 2011.
Securitas explains that it implemented a nationwide Dispute Resolution Program following

the decision of the United States Supreme Court in AT&T Mobility LLC v. Concepcion, 131

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S.Ct. 1740 (2011), entered on April 27, 2011. In Securitas’ opinion, its Program provides
a fair, inexpensive, and impartial arbitration system binding both on Securitas and its current
employees. (/d. at 1.) According to Securitas, the Program requires all disputes in arbitration
be litigated individually, and not in a class or representative capacity, which is now
specifically allowed under Concepcion and the Federal Arbitration Act. (Id.)

Securitas acknowledges the court has the responsibility to assure that putative
members of a class are protected from coercive or misleading statements, but argues no such
conduct occurred by its actions in this case. (/d. at 2.) Securitas indicates it will agree to
additional notice and opportunity to continue as a named party in this litigation to potential
members of this collective action if and when the court grants conditional certification. (Id.)
Securitas believes such narrowly tailored relief will preserve the status quo while the parties
brief and argue the pending motion for conditional certification. (Jd.)

The court held a hearing on July 7, 2011, during which counsel for the parties argued
the positions set forth in their briefs. Shortly after the hearing, the court ordered plaintiffs
to submit a proposed corrective notice. (Clerk’s No. 63.) Plaintiffs submitted their proposed
notice, on July 7, 2011, which was a version of a notice distributed in a California action,
modified solely with respect to the identification of plaintiffs’ counsel and case caption for
this litigation.

After considering the parties’ arguments, and reviewing the Dispute Resolution
Agreement (“DRA”) at issue, the court tends to agree with plaintiffs on several points. The

opening paragraph of the Agreement states:
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Except as it otherwise provides, this Agreement is intended to apply to the
resolution of disputes that otherwise would be resolved in a court of law, and
therefore this Agreement requires all such disputes to be resolved only by an
arbitrator through final and binding arbitration and not by way of court or jury
trial. ... The Agreement also applies, without limitation, to disputes regarding
the employment relationship, any city, county, state or federal wage-hour law,
... and claims arising under the . . . Fair Labor Standards Act, . . . and state
Statutes ....

(DRA { 1.) Later in the document, beginning in paragraph 7, the Agreement addresses
pending litigation:

This Agreement is intended broadly to apply to all controversies hereafter
arising out of or related to your employment relationship with the Company
as well as an agreement to submit to arbitration any existing controversy
arising from or related to your employment as is permitted under Section 2 of
the Federal Arbitration Act. In some cases, claims have been made in court
(non-arbitration) litigation on behalf of Company employees in which those
employees desire to represent claims of other employees in class, collective or
other representative actions (referred to as “Actions”). If you are a named
party plaintiff, or have joined as a party plaintiff this Agreement shall not
apply to those Actions, and you may continue to participate in them without
regard to this Agreement. If you have retained counsel with respect to any
claim that may be subject to this agreement you should consult that counsel.
You may consult private counsel with respect to any aspect of this Agreement.

This Agreement, however, shall apply to all Actions in which you are not a
plaintiff or part of a certified class. The Company is aware of the following
Actions in which class or representative claims have been alleged, which
generally involve employee claims for unpaid wages.

(DRA 77.) After listing the specific actions, including this one, the Agreement then states:

If you are not a named plaintiff, have not joined as a plaintiff or are not part of
a certified class in any of these Actions but would like to potentially
participate in one or more of the Actions as a class member or plaintiff, you
may opt out of this Agreement by following the procedure set forth in Section
9, below. By not opting out of this Agreement as set forth in Section 9 below,
however, you will be giving up the right to represent others in litigation and
the right to participate in any class, collective or representative action in a
court of law, including the Actions enumerated above in which you are not a
named plaintiff, have not joined as a plaintiff or are not part of a certified class.

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If you choose not to opt out of this Agreement, you will be able to arbitrate
whatever individual claims you have against the Company. Whatever you
decide, you will not be retaliated against, disciplined or threatened with
discipline if you choose to opt out of this Agreement or choose not to opt out
of this Agreement. The choice is yours.

8. You may not wish to be subject to this Agreement. If so, you may opt-out
ofthis Agreement. If you wish to opt-out, you must call the following toll free
number . . . in order to opt-out. In order to be effective, you must call the toll
free number and opt-out within 30 days of your receipt of this Agreement. An
Employee who timely opts out as provided in this paragraph will not be subject
to any adverse employment action as a consequence of that decision and may
pursue available legal remedies without regard to this Agreement. Should an
Employee not opt out of this Agreement within 30 days of the Employee’s
receipt of this Agreement, continuing the Employee’s employment constitutes
mutual acceptance of the terms of this Agreement by Employee and the
Company. An Employee has the right to consult with counsel of the
Employee’s choice concerning this Agreement.

9. It is against Company policy for any Employee to be subject to retaliation
if he or she exercises his or her right to assert claims under this Agreement.
If any Employee believes that he or she has been retaliated against by anyone
at the Company, the Employee should immediately report this to the Human
Resources Department.

10. This Agreement is the full and complete agreement relating to the formal
resolution of employment-related disputes. In the event any portion of this
Agreement is deemed unenforceable, the remainder of this Agreement will be
enforceable. If the Class Action Waiver is deemed to be unenforceable, the
Company and Employee agree that this Agreement is otherwise silent as to any
party’s ability to bring aclass, collective or representative action in arbitration.
(DRA {ff 7-10.)
The court agrees with plaintiffs that the language of the Agreement, especially when
read as a whole, may be confusing and misleading to putative class members regarding their
rights in proceeding in this action. The court also agrees that the Agreement is not merely

anew employment policy by Securitas, but instead appears to be a concerted, targeted effort

to have its employees waive their right to proceed in this particular, and other similar,

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ongoing litigation. Moreover, the court is greatly concerned that the “Class Action Waiver”
appears to be self-executing under the following language: “By not opting out of this
Agreement as set forth in Section 9 below, however, you will be giving up the right to
represent others in litigation and the right to participate in any class, collective or
representative action in a court of law, including the Actions enumerated above.” It is
noteworthy that Section 8, not Section 9, actually sets forth the procedures for opting out.

The United States Supreme Court has “recognized that a trial court has a substantial
interest in communications that are mailed for single actions involving multiple parties.”
Hoffmann-La Roche Inc. v. Sperling, 493 U.S. 165, 171 (1989). ““Because of the potential
for abuse, a district court has both the duty and the broad authority to exercise control over
a class action and to enter appropriate orders governing the conduct of counsel and the
parties.” Id. (quoting Gulf Oil Co. v. Bernard, 452 U.S. 89, 100 (1981)). In addressing
notice of written consents in an ADEA action, the Court explained: “By monitoring
preparation and distribution of the notice, a court can ensure that it is timely, accurate, and
informative. Both the parties and the court benefit from settling disputes about the content
of the notice before it is distributed.” Jd. at 172.

In this magistrate judge’s opinion, the actions of Securitas usurped the duty and
authority of this court to appropriately monitor communications with putative class members
to ensure the information provided regarding this litigation, and their rights in proceeding in
the action, is timely and accurate. By unilaterally implementing a “Class Action Waiver” for

this particular litigation under the guise of an overall Dispute Resolution Program, Securitas
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has undermined the integrity of the judicial process and role of the court, and potentially
confused the putative class members.

Securitas’ reliance on Concepcion to validate its actions is misplaced. There,
customers who had entered into a contractual agreement for the sale and servicing of cellular
telephones brought a putative class action alleging the company engaged in false advertising
and fraud. 131 S.Ct. at 1744-45. The Supreme Court held that the Federal Arbitration Act
preempts California’s Discover Bank rule regarding the unconscionability of class arbitration
waivers in consumer contracts, and reversed the denial of the company’s motion to compel
arbitration under the terms of the contract. Jd. at 1753.

The Concepcion case did not address the primary issues of concern which arise from
Securitas’ actions in this case: the implementation of an arbitration agreement during
ongoing litigation, the waiver of rights to proceed in the ongoing litigation, and unilateral
communication with putative class members regarding their rights in the litigation without
notice to the court or opposing counsel. The Concepcion case also does not address the
specific language contained in the Dispute Resolution Agreement, and whether such
language is confusing or misleading to the putative class members in this litigation.

In addition, here, as opposed to the consumer contractual relationship in Concepcion,
an employer-employee relationship exists between Securitas and the putative class members.
As recognized in this district: the “employer-employee relationship between Defendants and
the putative class members produces a strong potential for coercion and thus justifies
minimal protections.” Bublitz v. EI. duPont de Nemours, 196 F.R.D. 545, 547 (S.D. Iowa

2000). In this court’s opinion, Securitas has pushed the potential for coercion to the edge by

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failing to provide plaintiffs’ counsel and this court with notice prior to unilaterally
communicating with putative class members regarding their rights in this particular litigation
and implementing a self-executing “Class Action Waiver.” The court has reviewed the
notice proposed by plaintiffs and finds it to be appropriate and necessary in light of the
actions taken by Securitas.

For these reasons, Plaintiff's Emergency Motion for a Protective Order and Additional
Relief (Document No. 53) shall be granted in part and denied in part. Plaintiffs are
authorized to distribute to named plaintiffs, opt-in plaintiffs and all putative class members
for this action a notice in the form as proposed and submitted by plaintiffs to the court on
July 7, 2011. Securitas shall provide to plaintiffs’ counsel, on an expedited basis and by no
later than noon on July 12, 2011, the names, addresses and telephone numbers of all putative
class members who were sent the Dispute Resolution Agreement. Securitas shall provide
plaintiffs’ counsel with copies of all materials and communications sent to or received from
opt-in plaintiffs and putative class members relating to the Dispute Resolution Agreement.

IT IS SO ORDERED.

Dated July 8, 2011.

AS. (fit —

THOMAS J/SHIELDS
CHIE S. MAGISTRATE JUDGE
